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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       CASE NO. 21-cr-6 (TJK)
                v.                              :
                                                :
DOUGLAS AUSTIN JENSEN,                          :
                                                :
                        Defendant.              :


                     GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                           MOTION TO TRANSFER VENUE

        Defendant Douglas Austin Jensen, who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved to transfer venue in this case to the Southern District of

Iowa. Jensen fails to establish that he “cannot obtain a fair and impartial trial” in this district, Fed.

R. Crim. P. 21(a), and this Court should deny his motion.

                                          BACKGROUND

        On January 6, 2021, Jensen, having traveled halfway across the country to participate in

the rally in support of then-President Trump, decided to join a mob to storm the U.S. Capitol

building in an effort to stop the certification of the Electoral College votes. He scaled the walls to

reach the doors to the building. He was among the first rioters to enter the Capitol building itself,

climbing through a recently broken window to do so. Once inside, he chased a U.S. Capitol Police

officer up a flight of stairs in a menacing fashion, refusing to obey orders to stop and leave. During

the attack, as Jensen later admitted, he carried a knife. He later told law enforcement that he

wanted to stop then-Vice President Mike Pence, adding that “I was trying to fire up this nation,”

and “I’m all about a revolution.”

        Jensen was charged by superseding Indictment on November 10, 2021, with civil disorder,

in violation of 18 U.S.C. § 231(a)(3); obstruction of an official proceeding, in violation of 18



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U.S.C. §§ 1512(c)(2), 2; assaulting, resisting, or impeding federal law enforcement officers, in

violation of 18 U.S.C. § 111(a)(1); unlawfully entering and remaining in a restricted building while

carrying a deadly and dangerous weapon, that is, a knife, in violation of 18 U.S.C. § 1752(a)(1)

and (b)(1)(A); disorderly and disruptive conduct in a restricted building while carrying a deadly

and dangerous weapon, that is, a knife, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A);

disorderly conduct in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(D); and parading,

demonstrating, and picketing in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G).

Dock. No. 50. Trial is scheduled to begin on September 19, 2022.

       Jensen now moves for a change of venue to the district of his residence, the Southern

District of Iowa. Dock. No. 64 (“Def. Mtn”). Although he presents no evidence supporting his

theory, he contends that prejudice should be presumed in this district for three primary reasons:

(1) the physical proximity of D.C. residents to the U.S. Capitol where the events occurred;

(2) pretrial publicity surrounding the events of January 6; and (3) the decrease in size of the jury

pool following the trial of other January 6 defendants. Each of the defendant’s arguments is

without merit, and the motion should be denied, just as several other judges in this district have

denied similar requests by fellow January 6 defendants. See United States v. Reffitt, No. 21-cr-32

(DLF) (D.D.C. Oct. 15, 2021) (Minute Order); United States v. Caldwell, No. 21-cr-28 (APM)

(D.D.C. Sept. 14, 2021) ECF No. 415 at 10-11; United States v. Fitzsimons, No. 21-cr-158 (RC)

(D.D.C. Dec. 14, 2021) (Minute Order); United States v. Bochene, No. 21-cr-418 (RDM), 2022

WL 123893, at *2 (D.D.C. Jan. 12, 2022).

                                           ARGUMENT

  I.   Legal Principles

       The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where




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the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). As a result, it is the “well established procedure”

in this circuit to “refus[e] [defendants’] pre-voir dire requests for ... a change of venue.” Id. at

64; see also United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003) (“[T]he key to determining

the appropriateness of a change of venue is a searching voir dire of the members of the jury

pool.”); United States v. Bakker, 925 F.2d 728, 732 (4th Cir. 1991) (“Only where voir dire reveals

that an impartial jury cannot be impaneled would a change of venue be justified.”). After voir dire,

“it may be found that, despite earlier prognostications, removal of the trial is unnecessary.” Jones

v. Gasch, 404 F.2d 1231, 1238 (D.C. Cir. 1967).




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       This is in part because exposure to media coverage about a case does not indicate that a

juror is unqualified to serve. As the Supreme Court long ago noted, “every case of public interest

is almost, as a matter of necessity, brought to the attention of all the intelligent people in the

vicinity, and scarcely any one can be found among those best fitted for jurors who has not read or

heard of it, and who has not some impression or some opinion in respect to its merits.” Reynolds

v. United States, 98 U.S. 145, 155–56 (1878). More recently, the Court reiterated, “[p]rominence

does not necessarily produce prejudice, and juror impartiality . . . does not require ignorance.”

Skilling, 561 U.S. at 381. A juror need not be sheltered from all pre-trial exposure to a given case;

he or she only must be capable of setting aside any prejudgment and basing a decision based solely

on the evidence. The “mere existence of any preconceived notion as to the guilt or innocence of

an accused, without more,” is insufficient to establish prejudice. Irvin v. Dowd, 366 U.S. 717, 723

(1961). “It is sufficient if the juror can lay aside his impression or opinion and render a verdict

based on the evidence presented in court.” Id. In fact, the Supreme Court has found no

presumption of prejudice even when nearly all the prospective jurors had heard of the case and

77% indicated in voir dire that “they would carry an opinion into the jury box.” Patton v. Yount,

467 U.S. 1025, 1029 (1984).

       Nor does an event’s impact on the community necessitate a transfer of venue, even where

a large number of residents directly experienced effects of the charged crime. Courts routinely

conclude that a defendant can receive a fair trial in the location where the crime was committed,

even where many members of the community were victimized or deeply affected by the events.

See, e.g., In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (per curiam) (Boston Marathon bombing);

Yousef, 327 F.3d at 155 (1993 World Trade Center bombing); see also United States v. Moussaoui,

43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (September 11, 2001 attacks,




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including on the Pentagon).

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine

a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Rideau’s holding was not based simply on the existence of significant pretrial publicity but

on the unfairly prejudicial nature of the “dramatically staged” confession by the defendant himself,

disseminated to a huge proportion of the jury pool very shortly before trial. See Skilling, 561 U.S.

at 382 (describing Rideau). Since Rideau, the Supreme Court has emphasized that a “presumption

of prejudice . . . attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has

repeatedly “held in other cases that trials have been fair in spite of widespread publicity,” Nebraska

Press Ass’n v. Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme

Court has never presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S.

532 (1965) (presuming prejudice based on media interference with courtroom proceedings);

Sheppard, 384 U.S. 333 (same).

       Establishing prejudice is, therefore, a high burden, and it is a burden the defendant carries.




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The defense must do more than speculate about the possible biases and prejudices of a population

that is as large and diverse as a major metropolitan city. See Bochene, 2022 WL 123893, at *2

(rejecting January 6 defendant’s assertion of prejudice in the D.C. jury pool as based on

“conjecture” rather than actual evidence of bias against this particular defendant). Demonstrable

prejudice is difficult to come by at this stage, before voir dire, because the jury pool itself has not

been identified or questioned.

       Some defendants claiming prejudice might point to public opinion polls or other attempts

to survey the pre-trial opinions of likely jurors. But “courts have commonly rejected [] polls as

unpersuasive in favor of effective voir dire as a preferable way to ferret out any bias.”1 United

States v. Causey, 2005 WL 8160703, at *7 (S.D. Tex. 2005). Poll results cannot “decide the

question of a presumption of prejudice” because they fail utterly to account for the important role

of voir dire in addressing pretrial publicity. See Tsarnaev, 780 F.3d at 23; Mu’Min v. Virginia,

500 U.S. 415, 427 (1991) (observing that, “[p]articularly with respect to pretrial publicity, . . .




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          Courts are hesitant to find prejudice from polling data for several reasons. First, polling
lacks many of the safeguards of court-supervised voir dire, including the involvement of both
parties in formulating the questions. Surveys that are not carefully worded and properly conducted
can produce misleading results, such as by asking leading questions or providing the respondents
with facts that will influence their responses. See Campa, 459 F.3d at 1146 (noting problems with
“non-neutral” and “ambiguous” questions). Second, polling lacks the formality that attends in-
court proceedings under oath, and it does not afford the court the “face-to-face opportunity to
gauge demeanor and credibility.” Skilling, 561 U.S. at 395. Third, polls ordinarily inform the
court only the extent to which prospective jurors have heard about a case and formed an opinion
about it. But that is not the ultimate question when picking a jury. A prospective juror is not
disqualified simply because he has “formed some impression or opinion as to the merits of the
case.” Irvin, 366 U.S. at 722. Instead, “[i]t is sufficient if the juror can lay aside his impression
or opinion and render a verdict based on the evidence presented in court.” Id. at 723. But pre-trial
surveys are poorly suited to answering that ultimate question, which is best asked in the context of
face-to-face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981)
(observing that the trial judge’s function in voir dire “is not unlike that of the jurors later in the
trial” because “[b]oth must reach conclusions as to impartiality and credibility by relying on their
own evaluations of demeanor evidence and of responses to questions”).


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primary reliance on the judgment of the trial court makes good sense”).

       In Haldeman, seven former Nixon administration officials (including the former Attorney

General of the United States) were prosecuted for their role in the Watergate scandal. Haldeman,

559 F.2d at 51. According to a poll commissioned by the defense in that case, 93% of the

Washington, D.C. population knew of the charges against the defendants and 61% had formed the

opinion that they were guilty. Id. at 144, 178 n.2 (MacKinnon, J., concurring in part and dissenting

in part). Recognizing that the case had produced a “massive” amount of pretrial publicity, id. at

61, the D.C. Circuit nevertheless held that the district court “was correct” to deny the defendants’

“pre-voir dire requests for . . . a change of venue,” id. at 63-64. The court observed that the district

court “did not err in relying less heavily on a poll taken in private by private pollsters and paid for

by one side than on a recorded, comprehensive voir dire examination conducted by the judge in

the presence of all parties and their counsel.” Id. at 64 n.43.

       Finally, a change of venue should only be considered where it might actually serve the

purpose of the Sixth Amendment to ensure an unbiased jury. Where a defendant seeks to change

venue due to pretrial publicity, he must show that the desired venue does not suffer from the same

infection of publicity. A change of venue is of “doubtful value” where media coverage the

defendant seeks to avoid is national in reach. Haldeman, 559 F.2d at 64 n.43 (noting that the

Watergate scandal “is simply not a local crime of peculiar interest to the residents of the District

of Columbia.”); see also Bochene, 2022 WL 123893, at *3 (noting that publicity of the events of

January 6 has been widespread, reaching the people of the defendant’s desired district “just as

much” as the people in D.C., and the influence of media coverage “would be present ‘wherever

trial is held’”) (quoting Tsarnaev, 780 F.3d at 22); Caldwell, D.D.C. Case No. 21-cr-28-APM,

ECF No. 415, at 11 (noting that January 6 defendant’s claim of news media saturation cited to




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national media outlets and said nothing about the D.C. jury pool).

 II.   Jensen Has Not and Cannot Establish Prejudice

           A. January 6’s Proximity to Washington D.C. Jurors Does Not Support a
              Presumption of Prejudice in this Case

       The defendant contends that a D.C. jury could not be impartial because D.C. residents live

geographically close to the U.S. Capitol. Def. Mtn. at 1-2, 7-8. This fact does not explain anything

about the jury pool’s inherent bias, nor does it provide any basis to conclude that D.C. residents

could therefore not formulate evidence-based conclusions about one individual’s participation in

the January 6 riot. Jensen has not offered any explanation as to why proximity to the Capitol

translates into an unconstitutionally biased jury pool.      Indeed, D.C. residents live in close

geographic proximity to every crime that occurs within the district’s boundaries, and by this logic

could not be empaneled as unbiased jurors in any high-profile case involving acts committed in

D.C. That is certainly not required by the Sixth Amendment.

       To be sure, some D.C. residents were directly impacted by the events of January 6, either

because they adhered to the mayor’s curfew order that evening, were diverted due to road closures

or other physical impediments, or, perhaps, because they or their associates work in or around the

Capitol building. Some of those residents may be selected for jury service and could appear in the

venire in this case. During voir dire, the Court and the parties will have the opportunity to explore

what impact these events had on those individuals, and whether, and to what extent, it colors their

view of the charges against this defendant. See Skilling, 561 U.S. at 384 (finding that voir dire is

“well suited to th[e] task” of identifying and inspecting prospective jurors’ connections to the case

and impact from the events). But to prospectively conclude that these potential jurors are biased—

and that their numbers will be overwhelming among the jury venire—is pure conjecture. There is

no reason to believe that the district’s entire population of 700,000 people was so affected by these



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events that the Court cannot seat an impartial jury here. Jensen offers no evidence to support this

claim, nor does he cite any law to support his argument. If a jury can be empaneled in Manhattan,

after the attack on the World Trade Center, or in Boston, after the bombing of the Boston Marathon,

certainly one can be empaneled here.

             B. Media Coverage of January 6 Does Not Support a Presumption of Prejudice
                in this Case

        The entire nation experienced the events of January 6 together, as those events unfolded,

while images were broadcast in real time on television screens across the country. Jensen argues

that images of the day are “likely imprinted indelibly in the mind of anyone who [viewed them][.]”

Def. Mtn. at 7. This may be true, but it is also unhelpful to Jensen’s argument. First, as he

concedes, “[m]uch of this evidence has nothing to do with Mr. Jensen[.]” Def. Mtn. at 7. And the

media coverage has been undeniably national in scope. Jurors in the Southern District of Iowa

have been exposed to much of the same media coverage of the January 6 riot as jurors in any corner

of the United States, including in D.C. The images Jensen describes of people scaling the Capitol

walls, hoisting a hangman’s gallows and noose, or waiving Confederate flags, have been “splashed

across” newspapers and television all around the country. Def. Mtn. at 7. Like the Watergate

scandal, the storming of the Capitol on January 6, 2021, was “not a local crime of peculiar interest

to the residents of the District of Columbia” but one that is equally important to people all across

the country. Haldeman, 559 F.2d at 64 n.43. Jensen does not argue—nor could he—that the

impact of the media coverage of these events is limited to the district where he is charged and will

stand trial.2




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         Highlighting this point, the news articles Jensen cites come from The Washington Post
and USA Today, both of which are national newspapers that circulate in Iowa as well as D.C. Def.
Mtn. at 7, n.2.

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       In fact, there is good reason to suspect the opposite. National coverage of the riots has

focused on the mob, the crowds, and the most memorable individuals like those wearing costumes

and battle regalia or putting their feet on the desks of prominent lawmakers. Jensen received

attention along with other “faces” of the insurrection, but not more so than some of his even more

infamous co-defendants. The people of D.C., like the rest of the country, have been exposed to an

array of media images focusing on dozens, hundreds, or even thousands of rioters and protestors

who contributed to the events as they unfolded. News of Jensen’s role in the riot is diffused by

the many other people who have received equal or greater attention on the national stage. Jensen

has not even claimed that the pool of potential jurors in D.C. is likely to have learned his name,

recognize his face, or have any information about his specific case as distinguished from any of

the hundreds of other January 6 rioters and co-defendants.

       On the other hand, media in Jensen’s home district have focused heavily on his case. The

Des Moines Register publishes updates about Jensen’s case to its readership nearly every time a

new pleading is filed. An online search for “Doug Jensen” results in links first to the Des Moines

Register; second to KCCI Des Moines, a CBS-affiliated Des Moines television station, third to

Iowa Public Radio, and only fourth to The Washington Post. According to Google and newspaper

records, the Des Moines Register has published more than a dozen articles about Jensen

specifically—more coverage than a similar search shows he has received in The Washington Post.

But even in Iowa, the coverage of Jensen is certainly less significant than of the defendant in

Skilling, where the Houston Chronicle “mentioned Enron in more than 4,000 articles during the

3-year period following the company’s December 2001 bankruptcy” with “[h]undreds of these

articles discussing Skilling by name.” Skilling, 561 U.S. at 428 (Sotomayor, J., concurring in part

and dissenting in part).




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       Moreover, the coverage of January 6 in general and of Jensen in particular is not unfairly

prejudicial or inflammatory, and Jensen has presented no basis to conclude that the jury pool in

D.C. is biased as a result of seeing it. Any images showing Jensen would be relevant and

admissible at trial, and they are a far cry from the prejudicial impact of a widely-broadcast,

“dramatically staged” extrajudicial confession such as occurred in Rideau. Skilling, 561 U.S. at

382 (describing Rideau). Even “pervasive, adverse publicity [] does not inevitably lead to an unfair

trial[,]” where the news stories are not “particularly likely to produce prejudice[.]” Id. at 384

(quoting Nebraska Press Assn. v. Stuart, 427 U.S. 539 (1976)). As in Caldwell, Jensen “has not

put forth a scrap of evidence to support his claims of jury bias,” and his attempt to equate media

coverage with actual bias are “based entirely on his own speculation.” Caldwell, D.D.C. Case No.

21-cr-28-APM, ECF No. 415, at 11.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on Jensen’s

conjecture. As in Haldeman, there is “no reason for concluding that the population of Washington,

D.C. [i]s so aroused against [the defendant] and so unlikely to be able objectively to judge [his]

guilt or innocence on the basis of the evidence presented at trial” that a change of venue is required.

559 F.2d at 62. Even a great deal of pretrial publicity does not disqualify a potential juror or an

entire venire. As Skilling noted, “juror impartiality . . . does not require ignorance.” 561 U.S. at

381; see also Patton, 467 U.S. at 1029 (finding no presumption of prejudice even when 77%

indicated on voir dire that “they would carry an opinion into the jury box”).

           C. The Size of the Jury Pool Does Not Support a Presumption of Prejudice in this
              Case

       Jensen’s final argument is that by the time of his trial in September 2022, the pool of



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eligible jurors will be that much smaller, as other January 6 defendants take their cases to trial

before his. Def. Mtn. at 9. He cannot show an impact on the jury pool sufficient to justify a change

of venue.

       To date, only one January 6 defendant has been tried before a jury. Reffitt, No. 21-cr-32

(DLF). In that case, the Court individually questioned approximately 60 prospective jurors over

two days of voir dire and seated a 12-member jury with four alternates.            In a district of

approximately 700,000 residents, that leaves hundreds of thousands of additional potential jurors

who have not yet been called to serve. Even if other defendants’ trials cause “spikes” in publicity,

Def. Mtn. at 9, there is no reason to surmise that publicity would mention Jensen’s case in

particular. Moreover, any additional publicity involving Jensen himself will likely be offset by

the additional passage of time since the events of January 6. See Skilling, 561 U.S. at 383

(observing that “the decibel level of media attention diminished somewhat” in the four years

between Enron’s collapse and trial); Patton, 467 U.S. at 1029 (observing that “prejudicial publicity

[had] greatly diminished and community sentiment had softened” in four years). If, as Jensen

supposes, the jury pool is irredeemably prejudiced by the time of his trial, the Court’s voir dire

will reveal the issue and a solution can be tailored at that time. But Jensen’s conjecture that this

might come to pass in the future is wholly insufficient to support a transfer of venue now.




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                                CONCLUSION

For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

                                     Respectfully submitted,

                                     MATTHEW M. GRAVES
                                     United States Attorney
                                     D.C. Bar No. 481052

                             By:     /s/ Emily W. Allen
                                     EMILY W. ALLEN, Cal. Bar No. 234961
                                     Assistant United States Attorney
                                     555 Fourth Street, N.W.
                                     Washington, DC 20530
                                     emily.allen@usdoj.gov
                                     (907) 271-4724




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